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USDC FLSD 2458 (Rev.09/08)-JudrnentinaCrimi
                                          nalCase                                                                          Paae1of6


                          U N IT E D ST A T E S D IST R IC T C O U R T
                                               Southern D istrictofFlorida
                                                    FortLauderdale D ivision

   UN ITED STA TE S O F A M ER ICA                              JUD G M EN T IN A CR IM INA L CA SE
                        V.
       M O H A M M ED A L.G H O O L                             Case N um ber:18-60136-CR -DIM ITR O U LEA S
                                                                USM Number:18657-104

                                                                CounselForDefendant:Tim othy Day,AFPD
                                                                CounselForTheUnited States:D onald Chase,AU SA
                                                                CourtReporter:FrancineSalopek
Thedefendantwasfoundguiltyon countts)1s-3softheindictment.
Thedefendantisadjudicatedguiltyoftheseoffenses:
                                                                                                      O FFEN SE
TITLE & SECTION                    NATURE OF OFFEN SE                                                 ENDED                  COUNT

18USC 922(g)(5)(A)       Alien inPossessionofatqrearm andammuntion         04/13/2018 ls
18USC 922(g)(5)(A)       Alien inPossessionofafirearm andammunition        04/16/2018 2s
18USC 922(g)(5)(A)       AlieninPossession offirem'm andammunition         05/05/2018 3s
The defendantis sentenced as provided in the following pages ofthisjudgment.The sentence is imposed
pursuantto theSentencingReform Actof1984.
Itis ordered that the defendarg mustnotify the United States attorney for this district within 30 days of any
change ofnam e,residence,ormailing addressuntila11fines,restitution,costs,and specialassessm ents im posed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecoul'tandUnited States
attorney ofm aterialchanges in econom ic circum stances.




                                                              D ate ofIm position ofSentence'
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                                                              United StatesD istrictJudge


                                                               Date: (). ' )) n-c)?9.   ,
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          M 58 (Rev.08/08)-Judpznç-
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                                   lin:CriminalCase-                                                   PaRe2 of6


DEFEN DANT:M OH AM M ED AL-GH O OL
CASE NUM BER :18-60136-CR-DlM lTRO ULEAS
                                            IM PR ISO NM ENT
The defendantishereby com mitted to the custody ofthe United States Bureau ofPrisonsto be imprisoned fora
totalterm ofOne(1)yearand One(1)day astoeach ofCounts1s-3storun concurrent.
The court m akes the follow ing recom m endations to the Bureau of Prisons: The C ourt recom m ends
designation to a South Florida facility.
Thedefendantisrem anded to the custody oftheUnited StatesM arshal.

                                                             R ETUR N
1haveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                    to

at                                                     ,withacertiûedcopyofthisjudgment.




                                                                UN ITED STA TES M A R SH A L



                                                                D EPU TY UN ITED STA TES M A R SHA L
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DEFEN DANT:M OHA M M ED AL-GH OOL
CA SE N U M BER :18-60136-C R -DIM 1TR O U LEA S
                                      SUPERVISED RELEASE
Upon release from imprisonm ent,the defendantshallbe on supervised release fora term of3 years asto each ofCounts
1s-3sto run concurrent.
The defendantmustreporttotheprobation office in the districtto which the defendantisreleased within 72 hoursofrelease
from thecustody oftheBureau ofPrisons.
The defendantshallnotcom m itanotherfederal,state orlocalcrim e.
The defendantshallnotunlawfully possess a controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofreleasefrom im prisonm entand atleast
two periodic drug teststhereafter,asdeterm ined by the court.
Thedefendantshallcooperatein the collection ofDNA as directed by the probation officer.
The defendantshallnotpossess a firearm ,am m unition,destructive device,or any other dangerousw eapon.

Ifthisjudgmentimposesafineorrestitution,itisacondition ofsupervised releasethatthedefendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment,
The defendantmustcom ply w ith the standard conditionsthathave been adopted by thiscourtasw ellasw ith any additional
conditionson the attached page.
                                STAN D AR D C O N DITIO N S O F SUPER VISIO N
       Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2.Thedefendantshallrepol'ttotheprobationofficerandshallsubmitatruthfulandcompletewrittenreportwithinthefirstfiûeen
       daysofeach month;
    3.The defendantshallanswertruthfully a1linquiriesbytheprobation officerand follow theinstructionsoftheprobationofficer;
    4.The defendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
    5.Thedefendantshallworkregularly ata lawfuloccupation,unlessexcused bytheprobationofficerforschooling,training,or
       otheracceptablereasons',
    6.Thedefendantshallnotify theprobation officeratleastten dayspriorto any changein residenceoremployment;
    7.Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradm inisterany
       controlled substanceorany paraphernaliarelated toanycontrolled substances,exceptasprescribedby aphysician;
    8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered'   ,
    9,Thedefendantshallnotassociatewith anypersonsengaged in criminalactivity and shallnotassociatewith anyperson convicted
       ofafelony,unlessgrantedpermission todo sobytheprobation officer;
    10.Thedefendantshallpermitaprobation officertovisithim orheratany timeathomeorelsewhereand shallpel       nnitconfiscation
       ofany contrabandobservedinplainview oftheprobation officer;
    1l.'rhedefendantshallnotify theprobation officerwithin seventy-two hoursofbeingarrested orquestionedby a1aw enforcement
       oftk er;
    l2.The defendantshallnotenterinto any agreementtoactasan informeroraspecialagentofalaw enforcementagency withoutthe
       permission ofthecoul't;and
    13.Asdirectedbytheprobation officer,thedefendantshallnotifythirdpaliesofrisksthatmay beoccasioped bythedefendant's
        criminalrecord orpersonalhistory orcharacteristicsand shallpermittheprobation officertomakesuchnotificationsandto
        confinn thedefendant'scompliancewith suchnotificationrequirement.
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DEFENDANT:M OHAM M ED AL-GH OOL
CASE NUM BER:18-60136-CR-DIM ITROULEAS
                               SPEC IA L CO N D IT IO N S O F SU PER V ISIO N
Surrenderingto lmm igration forRem ovalAfterlmprisonm ent-Atthecom pletion ofthedefendant'sterm of
imprisonm ent,the defendantshallbe surrendered to the custody oftheU .S.Imm igration and Custom s
Enforcem entforremovalproceedingsconsistentwith theImm igration and Nationality Act.Ifrem oved,the
defendantshallnotreentertheUnited Stateswithoutthepriorm itten perm ission oftheUndersecretary for
Borderand Transportation Security.Thetenu ofsupervised releaseshallbenon-reportingwhilethedefendantis
residing outsidetheUnited States.IfthedefendantreenterstheUnited Stateswithin thetenn ofsupervised
release,the defendantisto reportto thenearestU.S.Probation Offcewithin 72 hotlrsofthedefendant'sanival.

lfnotrem oved'
             .

Perm issibleSearch -The defendantshallsubmitto asearch ofhis/herperson orproperty conducted in a
reasonablemannerand atareasonabletim eby the U.S.Probation Officer.
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D EFEN D AN T :M O H A M M ED A L-G H O O L
CA SE N U M BER :18-60136-CR -D IM ITR O UL EA S
                                CR IM IN A L M O N ETA R Y PENA LTIES
Thedefendantmustpay thetotalcriminalmonetary penaltiesundertheschedule ofpaymentson Sheet6.
                                  A ssessm ent                Fine                Restitm ion
        TOTA LS                      $300.00                 $0.00                   $0.00
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified othem ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto18U.S.C.j366449,alInonfederalvictim smustbepaidbeforetheUnitedStatesispaid.
N A M E O F PA Y EE                                  TO TA L   R ESTITU TIO N         PR IO R ITY O R
                                                     LO SSw    o p os u uo            PER C EN TA G E
*Findingsforthetotalam ountoflossesarerequired underChapters109A ,110,110A,and 113A ofTitle 18 for
offensescom m itted on orafter Septem ber 13,1994,butbefore A pril23,1996.
**Assessm entdue imm ediately unlessotherwiseordered by the Coult
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D EFEN DA N T:M O H A M M ED A L-GH O O L
CA SE NU M BER :18-60136-CR -DIM ITR O ULEA S
                                   SC H ED UL E O F PA Y M EN TS
H aving assessed the defendant's ability to pay, paym ent of the total crim inal m onetary penalties is due as
follow s:
A.Lum p sum paym entof$300.00 due im m ediately.

Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during imprisonm ent.A11criminalmonetary penalties,exceptthose paym ents m ade
thzough the FederalBureau ofPrisons'Inm ate FinancialResponsibility Progrnm ,are m ade to the clerk ofthe
court.

The defendant shallreceive credit for a11payments previously m ade toward any crim inalm onetary penalties
im posed.
Thisassessm ent/fine/restitution ispayableto theCLERK,UNITED STATES COURTS and isto beaddressedto:
U .S.C LER K 'S O FFICE
A TTN :FIN AN CIAL SE CTIO N
400 N O RT H M IA M I A VEN U E ,R O O M 08N 09
M IA M I,FLO R IDA 33128-7716
The assessm ent/fne/restitution is payable immediately.The U .S.Bureau ofPrisons,U .S.Probation Office and
theU .S.Attorney'sOffice areresponsiblefortheenforcem entofthisorder.

Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),TotalAmount,Jointand
SeveralA m ount,and corresponding payee,ifappropriate.
C A SE N U M BER                                                                 JO IN T A ND SEV EM L
D EFEN D A NT A N D C O -D EFEN D AN T N AM ES               T O TA L AM O U N T A M O UN T
 (INCLUDIN G DEFENDANT NUM BER)
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,including costof
prosecution and coul'tcosts.
